Case 16-24434 Doci3 Filed 08/09/16 Entered 08/10/16 07:06:10 Desc Main
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Notice of Undeliverable Mail io Debtor
FILED

August 4, 2016 UNITED. STATES BANKRUD

NORTHE: Bn oh i rT é OF br coe
From: United States Bankruptcy Court, Northern District of Hinois Aug 09 2016
Re: U.S. Courts, Bankruptcy Noticing Center - Undeliverable Notice . oo
In re: Nedra Carlisa Johnson, Case Number 16-24434, JPC JEFFREY P, ALLSTEADT, CLERK
TO THE DEBTOR:

The attachment could not be mailed to the notice recipient(s) listed below because the United States Postal
Service (USPS) has determined that those addresses in the case mailing list are undeliverable.

Please be advised that dischargeability of a debt may be affected if a creditor fails to receive certain notices.
You should determine whether an address should be updated. Consult an attorney with any legal questions
you might have.

NOTE: No further notices will be mailed to the notice recipient(s) listed below, if the USPS continues to
designate the address as undeliverable, until the address is updated in accordance with local court
policy, which may alow for use of this form, a separate notice of change of address, and/or an amended
schedule. THIS FORM CANNOT BE USED TO ADD A NEW CREDITOR NOT PREVIOUSLY LISTED
ON YOUR SCHEDULES.

If this form is used by your court in place of filing a separate notice of change of address and/or an amended
schedule: 1) determine the updated address and send the attachment to each recipient below; 2) type or print
legibly each updated address below; 3) sign and date the form: and 4) file this form with the court at the
following address:

U.S, Bankruptcy Court
Eastern Division
219 § Dearborn

7th Floor
Chicago, TL 60604

Undeliverable Address:
Peoples Gas

130 E Randolph St
Chicago IL 60601

Reason Undeliverable: FORWARDING ORDER HAS EXPIRED

THE UPDATED ADDRESS 1

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